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 8
                                        UNITED STATES DISTRICT COURT
 9
                                    NORTHERN DISTRICT OF CALIFORNIA
10
                                                 OAKLAND DIVISION
11
      IN RE COLLEGE ATHLETE NIL                              Case No. 4:20-cv-03919-CW
12    LITIGATION
13
                                                             [PROPOSED] ORDER GRANTING
14                                                           PLAINTIFFS’ MOTION FOR
                                                             PRELIMINARY SETTLEMENT APPROVAL
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                [PROPOSED] ORDER GRANTING PLS. MOTION FOR PRELIMINARY SETTLEMENT APPROVAL - NO. 4:20-CV-03919-CW
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 1             This matter comes before the Court on Plaintiffs’ Motion for Preliminary Approval of Class
 2   Action Settlement with Defendants National Collegiate Athletic Association (“NCAA”), Atlantic
 3   Coast Conference (“ACC”), The Big Ten Conference, Inc. (“Big Ten”), The Big 12 Conference, Inc.
 4   (“Big 12”), Pac-12 Conference (“Pac-12”) and Southeastern Conference (“SEC”) (collectively, the
 5   “Defendants”) (“Motion”).
 6             WHEREAS, Plaintiffs, on behalf of themselves and the proposed stipulated settlement
 7   classes (“Settlement Classes”), and Defendants, have agreed, subject to Court approval following
 8   notice to the Settlement Classes and a hearing, to settle the above-captioned matter (“Lawsuit”) upon
 9   the terms set forth in the Settlement Agreement between Plaintiffs and Defendants NCAA, ACC,
10   Big Ten, Big 12, Pac-12, and SEC (“Settlement Agreement”) (attached as Exhibit 1 to the
11   Declaration of Steve W. Berman in Support of Plaintiffs’ Motion for Preliminary Approval of
12   Settlement);
13             WHEREAS, this Court has reviewed and considered the Settlement Agreement entered into
14   between the parties, the record in this case, and the briefs and arguments of counsel;
15             WHEREAS, Plaintiffs have applied for an order granting preliminary approval of the
16   settlement set forth in the Settlement Agreement (“Settlement”) and directing notice to the
17   Settlement Classes (defined in paragraphs 3, 5, 7, and 9, below) in connection with the Settlement
18   Agreement pursuant to Rule 23(e)(1) of the Federal Rules of Civil Procedure;
19             WHEREAS, this Court preliminarily finds, for purposes of settlement only, that the Lawsuit
20   meets all the prerequisites of Rule 23 of the Federal Rules of Civil Procedure;
21             WHEREAS, Plaintiffs have presented sufficient information, pursuant to the Federal
22   Rules, to justify directing notice of the Settlement to the Settlement Classes;
23             WHEREAS, all defined terms contained herein shall have the same meanings as set forth in
24   the Settlement Agreement;
25             NOW, THEREFORE, IT IS HEREBY ORDERED:
26                          The Court hereby preliminarily approves the Settlement Agreement and the
27   Settlement set forth therein, finding that it is likely to approve the Settlement as fair, reasonable, and
28   adequate pursuant to Rule 23(e)(2), subject to further consideration at a hearing (the “Fairness
                                                               2
                [PROPOSED] ORDER GRANTING PLS. MOTION FOR PRELIMINARY SETTLEMENT APPROVAL - NO. 4:20-CV-03919-CW
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 1   Hearing”).
 2                          The Fairness Hearing shall be held before this Court on ____________, 2025, at 2:00
 3   p.m. [at least 150 days after the Notice Date (at the convenience of the Court)], at the United States
 4   District Court for the Northern District of California, Oakland Division, located at 1301 Clay Street,
 5   Oakland, CA 94612, to determine whether to approve certification of the Settlement Classes for
 6   settlement purposes; whether the proposed Settlement of the Lawsuit on the terms and conditions
 7   provided for in the Settlement Agreement is fair, reasonable, and adequate to the Settlement Classes
 8   and should be approved by the Court; whether a final judgment should be entered herein; whether
 9   the proposed plan of distribution should be approved; to determine the amount of fees and expenses
10   that should be awarded to Class Counsel; and to determine the amount of the service awards that
11   should be provided to the class representatives. The Court may adjourn the Fairness Hearing without
12   further notice to the members of the Settlement Classes.
13                          Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court preliminarily
14   certifies, for purposes of effectuating this Settlement, a Settlement Class as follows, hereinafter
15   referred to as the “Settlement Declaratory and Injunctive Relief Class”:
16                          All student-athletes who compete on, competed on, or will compete on
                            a Division I athletic team at any time between June 15, 2020 through
17
                            the end of the Injunctive Relief Settlement Term.1 This Class excludes
18                          the officers, directors, and employees of Defendants. This Class also
                            excludes all judicial officers presiding over this action and their
19                          immediate family members and staff, and any juror assigned to this
                            action.
20
                            The Court designates Grant House, DeWayne Carter, Nya Harrison, and Sedona
21
     Prince as the class representatives for the Settlement Declaratory and Injunctive Relief Class.
22
                            Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court also
23
     preliminarily certifies, for purposes of effectuating this settlement, a Settlement Class as follows,
24
     hereinafter referred to as the “Settlement Football and Men’s Basketball Class”:
25                   All student-athletes who have received or will receive full GIA
26                   scholarships and compete on, competed on, or will compete on a
                     Division I men’s basketball team or an FBS football team, at a college
27
         The Injunctive Settlement Term is the ten (10) Academic Years following the date of Final
          1

28   Approval of the Settlement.
                                                               3
                [PROPOSED] ORDER GRANTING PLS. MOTION FOR PRELIMINARY SETTLEMENT APPROVAL - NO. 4:20-CV-03919-CW
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 1                          or university that is a member of one of the Power Five Conferences
                            (including Notre Dame), and who have been or will be declared
 2                          initially eligible for competition in Division I at any time from June
 3                          15, 2016 through September 15, 2024. This Class excludes the officers,
                            directors, and employees of Defendants. This Class also excludes all
 4                          judicial officers presiding over this action and their immediate family
                            members and staff, and any juror assigned to this action.
 5
                            The Court designates Tymir Oliver and DeWayne Carter as the class representatives
 6
     for the Settlement Football and Men’s Basketball Class.
 7
                            Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court preliminarily
 8
     certifies, for purposes of effectuating this settlement, a Settlement Class as follows, hereinafter
 9
     referred to as the “Settlement Women’s Basketball Class”:
10                   All student-athletes who have received or will receive full GIA
                     scholarships and compete on, competed on, or will compete on a
11                   Division I women’s basketball team at a college or university that is a
12                   member of one the Power Five Conferences (including Notre Dame),
                     and who have been or will be declared initially eligible for competition
13                   in Division I at any time from June 15, 2016 through September 15,
                     2024. This Class excludes the officers, directors, and employees of
14                   Defendants. This Class also excludes all judicial officers presiding
                     over this action and their immediate family members and staff, and any
15
                     juror assigned to this action.
16                          The Court designates Sedona Prince as the class representative for the Settlement
17   Women’s Basketball Class.
18                          Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court preliminarily
19   certifies, for purposes of effectuating this settlement, a Settlement Class as follows, hereinafter
20   referred to as the “Settlement Additional Sports Class”:
21
                            Excluding members of the Football and Men’s Basketball Class and
22                          members of the Women’s Basketball Class, all student-athletes who
                            compete on, competed on, or will compete on a Division I athletic team
23                          and who have been or will be declared initially eligible for competition
                            in Division I at any time from June 15, 2016 through September 15,
24                          2024. This Class excludes the officers, directors, and employees of
25                          Defendants. This Class also excludes all judicial officers presiding
                            over this action and their immediate family members and staff, and any
26                          juror assigned to this action.

27                          The Court designates Grant House and Nya Harrison as the class representatives for

28   the Settlement Additional Sports Class.
                                                                4
                [PROPOSED] ORDER GRANTING PLS. MOTION FOR PRELIMINARY SETTLEMENT APPROVAL - NO. 4:20-CV-03919-CW
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 1                          The Court will refer to the Settlement Declaratory and Injunctive Relief Class,
 2   Settlement Football and Men’s Basketball Class, the Settlement Women’s Basketball Class, and the
 3   Settlement Additional Sports Class collectively as the “Settlement Classes.” The Court will refer to
 4   the Settlement Football and Men’s Basketball Class, the Settlement Women’s Basketball Class, and
 5   the Settlement Additional Sports Class collectively as the “Damages Settlement Classes.”
 6                          The Court designates Hagens Berman Sobol Shapiro, LLP and Winston & Strawn
 7   LLP as Class Counsel for the Settlement Classes.
 8                          Having found that it will likely approve the Settlement and certify the Settlement
 9   Classes for purposes of settlement with Defendants, the Court hereby directs Plaintiffs to give notice
10   of the Settlement to the Settlement Classes.
11                          The Court approves as to form and content the proposed notice forms and other
12   forms, including the Email Notice, Postcard Notice, Digital Notices, Press Release, Long Form
13   Notice, and Claim Form, attached as Exhibits 1 to 6, respectively, to the Declaration of Carla A.
14   Peak Regarding Settlement Notice Program (“Peak Declaration”). The Court further finds the
15   proposed contents of these notices, and the proposed plan of notice described in the Peak
16   Declaration, meet the requirements of Federal Rule of Civil Procedure 23 and due process, and are
17   the best notice practicable under the circumstances and shall constitute due and sufficient notice to
18   all persons entitled thereto.
19                          As part of the Class Notice plan described in the Peak Declaration, Defendant NCAA
20   and Defendant Conferences are ordered to direct their member institutions to provide to the
21   Settlement Administrator reasonably ascertainable information regarding the names and last-known
22   contact information (addresses and/or email addresses) of NCAA Division I student-athletes who
23   meet the criteria for one of the Settlement Classes certified above. To the extent additional student-
24   athlete information is needed to effectuate notice for certain Settlement Classes—including but not
25   limited to NCAA Eligibility Center student identification number, academic years on roster, periods
26   of ineligibility, sport played, position played, grant-in-aid status, and transfer status—Division I
27   member institutions of the NCAA and Defendant Conferences are ordered to provide such
28   information if reasonably ascertainable, along with the names and last-known contact information of
                                                               5
                [PROPOSED] ORDER GRANTING PLS. MOTION FOR PRELIMINARY SETTLEMENT APPROVAL - NO. 4:20-CV-03919-CW
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 1   student-athletes who satisfy the criteria for one of the Settlement Classes, to the Settlement
 2   Administrator. All names and contact information obtained through these sources shall be protected
 3   as confidential and not used for purposes other than the notice and administration of this Settlement,
 4   or as otherwise ordered by law.
 5                          The Court appoints the firm of Verita Global, LLC (“Settlement Administrator”) to
 6   supervise and administer the notice procedure as well as the processing of claims as more fully set
 7   forth below:
 8                          a.     No later than October 1, 2024 or two weeks after the filing of this Preliminary
 9   Approval Order, whichever is later, the Settlement Administrator shall establish a public, case-
10   specific website at the following web address—collegeathletecompensation.com—for the
11   settlements in the above-captioned matter and Hubbard v. NCAA, et al., Case No. 4:23-cv-01593-
12   CW (N.D. Cal.). The website shall make available the full version of the Settlement Agreement, the
13   Preliminary Approval Order, the Long Form Notice, and the Claim Form, in both an electronically
14   fillable form and in a format that may be downloaded and/or printed;
15                          b.     Beginning no later than October 1, 2024 or two weeks after the filing of this
16   Preliminary Approval Order (the “Notice Date”), whichever is later, the Settlement Administrator
17   shall commence providing e-mail notice, substantially in the form annexed as Exhibit 1 to the Peak
18   Declaration, to all Settlement Class Members whose email addresses can be identified with
19   reasonable effort;
20                          c.     Beginning no later than October 1, 2024 or two weeks after the filing of this
21   Preliminary Approval Order, whichever is later, the Settlement Administrator shall commence
22   mailing of the Postcard Notice via the United States Postal Service first-class mail, postage prepaid,
23   substantially in the form annexed as Exhibit 2 to the Peak Declaration.
24                          The claims period shall commence October 1, 2024 or two weeks after the filing of
25   this Preliminary Approval Order, whichever is later, and shall continue through and including 165
26   after the Notice Date.
27                          Class Counsel shall file their motion for attorneys’ fees, costs, and service awards for
28   the class representatives, and all supporting documentation and papers, by 60 days after the Notice
                                                                6
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 1   Date.
 2                          Any person who desires to request exclusion from the Damages Settlement Classes
 3   must do so by 105 days after the Notice Date, and such request for exclusion shall be in the form of a
 4   signed letter mailed or otherwise delivered to the Settlement Administrator stating that the person
 5   wants to be excluded from the In re College Athlete NIL Litigation, Case No. 4:20-cv-03919-CW
 6   (N.D. Cal.) settlement, and the letter must include the person’s name, current address, and NCAA
 7   ECID number if available. All persons who submit valid and timely requests for exclusion shall have
 8   no rights under the Settlement Agreement, shall not share in the distribution of the settlement funds,
 9   and shall not be bound by the final judgments relating to Defendants entered in the litigation.
10                          Any member of the Settlement Classes may enter an appearance in the litigation, at
11   his or her own expense, individually or through counsel of his or her own choice. If the member does
12   not enter an appearance, he or she will be represented by Class Counsel.
13                          Any member of the Settlement Classes may appear and show cause, if he or she has
14   any reason, why the proposed Settlement should or should not be approved as fair, reasonable, and
15   adequate; why a judgment should or should not be entered thereon; why the plan of distribution
16   should or should not be approved; why attorneys’ fees and expenses should or should not be
17   awarded to Class Counsel; or why the service awards should or should not be awarded to the class
18   representatives. All written objections and supporting papers must (a) clearly identify the case name
19   and number (In re College Athlete NIL Litigation, Case No. 4:20-cv-03919-CW (N.D. Cal.)), (b) be
20   submitted to the Court either by mailing them to the Class Action Clerk, United States District Court
21   for the Northern District of California, 1301 Clay St, Oakland, CA 94612, filing it electronically, or
22   by filing it in person at any location of the United States District Court for the Northern District of
23   California; and (c) be filed or postmarked on or before 105 days after the Notice Date.
24                          All papers in support of the settlement and responses by Class Counsel regarding
25   objections and exclusions shall be filed and served by 135 Days after Notice Date.
26                          All reasonable expenses incurred in identifying and notifying members of the
27   Settlement Classes, as well as administering the Settlement Fund, shall be paid for as set forth in the
28   Settlement Agreement.
                                                               7
                [PROPOSED] ORDER GRANTING PLS. MOTION FOR PRELIMINARY SETTLEMENT APPROVAL - NO. 4:20-CV-03919-CW
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 1                          Neither the Settlement Agreement, nor any of its terms or provisions, nor any of the
 2   negotiations or proceedings connected with it, shall be construed as an admission or concession by
 3   Plaintiffs or Defendants, respectively, of the truth or falsity of any of the allegations in the Lawsuit,
 4   or of any liability, fault, or wrongdoing of any kind.
 5                          All members of the Settlement Classes are temporarily barred and enjoined from
 6   instituting or continuing the prosecution of any action asserting the claims released in the proposed
 7   Settlement, until the Court enters final judgment with respect to the fairness, reasonableness, and
 8   adequacy of the Settlement.
 9                          Any member of the Damages Settlement Classes who does not properly and timely
10   request exclusion, upon final approval of the Settlement, shall be bound by the terms and provisions
11   of the Settlement so approved, including, but not limited to, the releases, waivers, and covenants set
12   forth in the Settlement Agreement, whether or not such person or entity objected to the Settlement
13   Agreement and whether or not such person or entity makes a claim upon the settlement funds.
14

15             IT IS SO ORDERED.
16
     Dated: _________________________                              ___________________________________
17                                                                 The Honorable Claudia Wilken
18                                                                 United States Senior District Court Judge

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                [PROPOSED] ORDER GRANTING PLS. MOTION FOR PRELIMINARY SETTLEMENT APPROVAL - NO. 4:20-CV-03919-CW
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